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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                           Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Hearing Date: October 22, 2024 at 1:00 p.m. (ET)
                                                                Obj. Deadline: September 20, 2024 at 4:00 p.m. (ET)

           MOTION OF THE FTX DEBTORS AND EMERGENT FIDELITY
      TECHNOLOGIES LTD FOR ENTRY OF AN ORDER (A) AUTHORIZING THE
      ENTRY INTO, AND PERFORMANCE UNDER, THE GLOBAL SETTLEMENT
         AGREEMENT AMONG THE FTX DEBTORS, EMERGENT FIDELITY
         TECHNOLOGIES LTD, THE JOINT LIQUIDATORS, AND FULCRUM
         DISTRESSED PARTNERS LIMITED; (B) APPROVING THE GLOBAL
        SETTLEMENT AGREEMENT; AND (C) GRANTING RELATED RELIEF

                  FTX Trading Ltd. and its affiliated debtors and debtors-in-possession (collectively,

the “FTX Debtors”) and Emergent Fidelity Technologies Ltd. as debtor and debtor-in-possession

(“Emergent”) hereby submit this motion (the “Motion”) for entry of an order, substantially in the

form attached hereto as Exhibit 1 (the “Order”), pursuant to section 105(a) of title 11 of the United

States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) and rule 9019 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”), (a) authorizing the FTX Debtors’ and

Emergent’s entry into, and performance under, the Global Settlement Agreement (the “Global

Settlement Agreement”), 2 attached as Exhibit A to the Order, between and among (i) the FTX

Debtors, (ii) Emergent, (iii) Angela Barkhouse and Toni Shukla (the “Joint Liquidators”), and




1
    The last four digits of FTX Trading Ltd.’s tax identification number are 3288. Due to the large number of debtor
    entities in these Chapter 11 Cases, a complete list of the FTX Debtors and the last four digits of their federal tax
    identification numbers is not provided herein. A complete list of such information may be obtained on the website
    of the FTX Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX. The principal place of business
    of Debtor Emergent Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St.
    John’s, Antigua and Barbuda.
2
    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the
    Global Settlement Agreement.
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(iv) Fulcrum Distressed Partners Limited (“Fulcrum,” and collectively with the FTX Debtors,

Emergent, and the Joint Liquidators, the “Parties”); (b) approving the Global Settlement

Agreement; and (c) granting related relief. In support of the Motion, the FTX Debtors submit the

Declaration of John J. Ray III in Support of the Motion of the FTX Debtors and Emergent Fidelity

Technologies Ltd. for Entry of an Order (A) Authorizing Entry Into, and Performance Under, the

Global Settlement Agreement Among the FTX Debtors, Emergent Fidelity Technologies Ltd., the

Joint Liquidators, and Fulcrum Distressed Partners Limited; (B) Approving the Global Settlement

Agreement; and (C) Granting Related Relief filed contemporaneously herewith (the “Ray

Declaration”), and Emergent submits the Declaration of Angela Barkhouse in Support of the

Motion of the FTX Debtors and Emergent Fidelity Technologies Ltd. for Entry of an Order (A)

Authorizing Entry Into, and Performance Under, the Global Settlement Agreement Among the FTX

Debtors, Emergent Fidelity Technologies Ltd., the Joint Liquidators, and Fulcrum Distressed

Partners Limited; (B) Approving the Global Settlement Agreement; and (C) Granting Related

Relief (the “Barkhouse Declaration”), and respectfully state as follows:

                                     Preliminary Statement

                  1.   The Global Settlement Agreement is another valuable piece of the puzzle

as the FTX Debtors prepare to implement their proposed plan of reorganization and continue to

work to maximize distributable value to creditors. In exchange for a single $14 million payment

to fund Emergent’s administrative expenses, the Global Settlement Agreement avoids the cost and

delay of litigation with respect to Emergent’s claims to the proceeds from the seizure and sale of

55 million shares of Robinhood Markets, Inc. Class A stock (the “Robinhood Shares”) and cash

totaling more than $600 million (the “Robinhood Proceeds”), and provides a path to the swift

resolution of the Emergent chapter 11 case and proceedings in Antigua.




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                  2.   Multiple parties have since the commencement of these Chapter 11 Cases

attempted to lay claim to the Robinhood Shares and later the Robinhood Proceeds, including

Samuel Bankman-Fried, BlockFi, and Emergent, in addition to the FTX Debtors. Any purported

claims of Mr. Bankman-Fried have been forfeited following his criminal conviction. The FTX

Debtors have worked hard to resolve the other competing interests to clear a path for the U.S.

Department of Justice to be able to provide the Robinhood Proceeds and Seized Cash to the FTX

Debtors for distribution. During a March 14, 2023 hearing, Emergent, BlockFi, and the FTX

Debtors discussed their respective claims to the Robinhood Shares. In response, the Court

observed “these parties clearly have some interest superior to the Government[’]s, so go back from

whence you came, and figure out who amongst you is the one who owns them.”

(Hr’g Tr. at 5:19-22, Case No. 23-10149 (Bankr. D. Del. Mar. 14, 2023), D.I. 82.) The FTX

Debtors, Emergent and BlockFi have now resolved all of their competing claims.

                  3.   This Court previously approved a settlement between the FTX Debtors and

BlockFi that, among other things, assigned any rights that BlockFi had in the Robinhood Proceeds

and the Seized Cash to the FTX Debtors. The Global Settlement Agreement now resolves the

Emergent Claims filed in the FTX Debtors’ Chapter 11 Cases and the Emergent Forfeiture

Petitions filed by both Emergent and the Joint Liquidators in the Criminal Case.

                  4.   Although the FTX Debtors believe their interest in the Robinhood Proceeds

and Seized Cash is superior to Emergent’s, litigation is time-consuming and expensive, and the

outcome uncertain. Emergent also believes its litigation position has merit, and also recognizes

litigation is costly and uncertain. Nonetheless, the FTX Debtors and Emergent agree that the

Robinhood Proceeds and Seized Cash should be administered for the benefit of the FTX Debtors’

creditors, and the Global Settlement Agreement provides certainty with respect to a key asset for

the FTX Debtors and their stakeholders.

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                  5.     The Parties engaged in protracted arms’-length negotiations that resulted in

the Global Settlement Agreement.            Among other things, the Global Settlement Agreement

provides for the payment of the costs of administration incurred by Emergent and the Joint

Liquidators for the benefit of the FTX Debtors and their creditors, and result in an assignment of

any interests of Emergent and the Joint Liquidators in the Robinhood Proceeds and the Seized

Cash to the FTX Debtors, thus further clearing the way for the FTX Debtors to receive the

Robinhood Proceeds and Seized Cash from the U.S. Department of Justice for the benefit of their

creditors.

                  6.     Accordingly, the FTX Debtors and Emergent each believe that entry into,

and performance under, the Global Settlement Agreement is fair and reasonable, provides material

value to both the FTX Debtors and Emergent while avoiding costly, time-consuming, and

uncertain litigation, is in the best interests of the FTX Debtors and Emergent and their respective

estates, and should be approved.

                                                Background

                  7.     On November 11 and November 14, 2022 (as applicable, the “Petition

Date”), 3 the FTX Debtors filed with the Court voluntary petitions for relief under the Bankruptcy

Code. The FTX Debtors continue to operate their businesses and manage their properties as

debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. Joint

administration of the FTX Debtors’ cases (the “Chapter 11 Cases”) was authorized by the Court

by entry of an order on November 22, 2022 [D.I. 128]. On December 15, 2022, the Office of the

United States Trustee for the District of Delaware (the “U.S. Trustee”) appointed the Official




3
    November 11, 2022 is the Petition Date for all FTX Debtors, except for FTX Debtor West Realm Shires Inc.


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Committee of Unsecured Creditors in the FTX Debtors’ Chapter 11 Cases, pursuant to section

1102 of the Bankruptcy Code [D.I. 231] (the “Committee”).

                  8.      On February 3, 2023, the Emergent Debtor, under the control of Angela

Barkhouse and Toni Shukla as Joint Provisional Liquidators 4 pursuant to the Appointment Order

of the Eastern Caribbean Supreme Court, High Court of Justice, Antigua and Barbuda (the

“Antigua Court”), dated December 5, 2022, filed a voluntary petition for relief under chapter 11

of the Bankruptcy Code (the “Emergent Chapter 11 Case”) with the United States Bankruptcy

Court for the District of Delaware (the “Court”).

                  9.      On May 10, 2023, the Court entered a final order authorizing the joint

administration of the Emergent Chapter 11 Case with the FTX Debtors’ Chapter 11 Cases. 5

                  10.     On May 19, 2023, the Court entered the Order (I)(A) Establishing

Deadlines for Filing Non-Customer and Government Proofs of Claim and Proofs of Interest and

(B) Approving the Form and Manner of Notice Thereof and (II) Granting Related Relief

[D.I. 1519] (the “Non-Customer Bar Date Order”).                    The Non-Customer Bar Date Order

established, among other things, June 30, 2023 as the deadline to file proofs of claim for Non-

Customer Claims (i.e., any claim other than a Customer Claim).

                  11.     Additional factual background relating to the FTX Debtors’ businesses and

the commencement of these Chapter 11 cases is set forth in the Declaration of John J. Ray III in

Support of Chapter 11 Petitions and First Day Pleadings [D.I. 24], the Declaration of Edgar W.

Mosley II in Support of Chapter 11 Petitions and First Day Pleadings [D.I. 57], the Supplemental

Declaration of John J. Ray III in Support of First Day Pleadings [D.I. 92] and the Supplemental


4
    On March 23, 2023, the Antigua Court placed the Emergent Debtor into full liquidation (as confirmed by the
    Antigua Court Order dated July 14, 2023) and appointed Ms. Barkhouse and Ms. Shukla as Joint Liquidators.

5
    D.I. 91, Case No. 23-10149; D.I. 1469, Case No. 22-11068.


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Declaration of Edgar W. Mosley II in Support of First Day Pleadings [D.I. 93]. Additional factual

background relating to the Emergent Chapter 11 Case is set forth in the Declaration of Angela

Barkhouse in Support of the Debtor’s Chapter 11 Petition [D.I. 3, Case No. 23-10149].

                             Facts Specific to the Relief Requested

                  12.   Emergent is an Antiguan company originally formed and formerly

controlled by Samuel Bankman-Fried. On May 11, 2022, Emergent acquired possession of

approximately 56 million shares of Robinhood Markets, Inc., through an agreement with Alameda

Research Ltd. (“Alameda”), Mr. Bankman-Fried, and ED&F Man Capital Markets Inc. (n/k/a

Marex Capital Markets, Inc.).

                  13.   Each of the FTX Debtors, BlockFi, Samuel Bankman-Fried, and Emergent

have at different times asserted ownership, security interests, or other rights in the Robinhood

Shares, the Robinhood Proceeds, and/or the Seized Cash, and there have been multiple proceedings

commenced in multiple forums with respect to these matters.

                  14.   On or around January 4, 2023, the U.S. Department of Justice seized the

Robinhood Shares and the Seized Cash (see Government’s Forfeiture Bill of Particulars, United

States v. Bankman-Fried, No. 22-673, (S.D.N.Y. Jan. 20, 2023), D.I. 49), and on September 1,

2023, the U.S. Department of Justice liquidated the Robinhood Shares, and currently holds more

than $600 million in Robinhood Proceeds.        (United States v. Bankman-Fried, No. 22-673,

(S.D.N.Y. Sep. 1, 2023), D.I. 242, 423.) Emergent and the Joint Liquidators filed the Emergent

Forfeiture Petitions asserting interests in and rights to the Robinhood Proceeds and the Seized

Cash. (United States v. Bankman-Fried, No. 22-673 (S.D.N.Y. Jun. 13, 2024), D.I. 446, 447.)

The FTX Debtors have also filed a petition asserting their superior interest to the Robinhood

Proceeds and the Seized Cash. (United States v. Bankman-Fried, No. 22-673 (S.D.N.Y. Jun. 14,

2024), D.I. 450.)


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                  15.     On February 3, 2023, Emergent filed a voluntary petition for chapter 11

bankruptcy protection in this Court. (Case No. 23-10149, D.I. 1.) The day prior, Emergent, the

Joint Liquidators, and Fulcrum entered into that certain Liquidation Funding Agreement (the

“Financing Agreement”), pursuant to which Emergent has borrowed a total of $4,496,882.88 to

date. (Emergent Chapter 11 Monthly Operating Report D.I. 20857.)

                  16.     On April 17, 2023, the Court entered the Order Approving Stipulation

Staying Litigation and Related Discovery [D.I. 1297] which, among other things, stayed all

litigation by and among the FTX Debtors, Emergent, and BlockFi outside of the Criminal Case

and related forfeiture proceedings until resolution of Mr. Bankman-Fried’s criminal proceedings.

                  17.     On June 28, 2023, in accordance with the Non-Customer Bar Date Order,

Emergent filed the Emergent Claims in the Chapter 11 Cases seeking no less than $28.9 million

from the FTX Debtors. 6

                  18.     On March 25, 2024, the Court entered an order approving a settlement

between the FTX Debtors and BlockFi that, among other things, resolved all of BlockFi’s claims

against the FTX Debtors and assigned BlockFi’s purported rights and interests in the Robinhood

Proceeds and the Seized Cash to the FTX Debtors. (See D.I. 10331.)

                  19.     To resolve all disputes and open matters by and among the FTX Debtors

and Emergent, the Parties negotiated at arm’s length and reached the Global Settlement Agreement

that provides, among other things, that on effectiveness of the Global Settlement Agreement: 7

                  (i)     the FTX Debtors will pay $14,000,000 U.S. dollars to Emergent, subject
                          to approval by this Court and agreement between any of the FTX Debtors
                          and the U.S. Department of Justice with respect to the releases of the


6
    See proof of claim numbers 3838, 4228, 4236, and 4237.
7
    Any summary of the Global Settlement Agreement contained herein is qualified in its entirety by the actual terms
    and conditions of the Global Settlement Agreement. To the extent that there is any conflict between any summary
    contained herein and the actual terms and conditions of the Global Settlement Agreement, the actual terms and
    conditions of the Global Settlement Agreement shall control.

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                          Robinhood Proceeds and/or the Seized Cash to any of the FTX Debtors;

                  (ii)    Emergent will waive and release for all purposes any and all Claims
                          against the FTX Debtors or with respect to any property in which the FTX
                          Debtors have held or may hold any conflicting interest, including (1) the
                          Emergent Claims and all other claims, arguments, defenses, rights, and
                          otherwise with respect to any property transferred between and among
                          Emergent and the FTX Debtors, and (2) the Robinhood Shares, the
                          Robinhood Proceeds, and the Seized Cash;

                  (iii)   all of the Emergent Proofs of Claim shall be deemed disallowed and
                          expunged in the FTX Bankruptcy Proceedings;

                  (iv)    Emergent shall withdraw the Emergent Forfeiture Petitions, with
                          prejudice, and none of Emergent, the Joint Liquidators, the Emergent
                          Professionals, or Fulcrum will seek to recover from any assets seized or
                          forfeited by the U.S. Department of Justice relating to the FTX Debtors;

                  (v)     Emergent and the Joint Liquidators shall be deemed to have assigned to
                          the FTX Debtors all of their rights (if any) with respect to the Robinhood
                          Shares, the Robinhood Proceeds, and the Seized Cash held by the U.S.
                          Department of Justice, including in connection with any forfeiture,
                          restitution or other legal proceeding, process, or distribution with respect
                          to such assets;

                  (vi)    Emergent, the Joint Liquidators and the FTX Debtors shall use
                          commercially reasonable efforts to cooperate to promptly obtain
                          agreement from the U.S. Department of Justice to release to the FTX
                          Debtors the Robinhood Proceeds and the Seized Cash;

                  (vii)   Emergent, the Joint Liquidators, and Fulcrum shall not (i) object or,
                          directly or indirectly, seek, solicit, support, encourage, or participate in
                          any discussions or agreement to object, to any FTX Plan so long as such
                          plan is consistent with the terms and conditions of the Global Settlement
                          Agreement; or (ii) appear or make any filings in the FTX Bankruptcy
                          Proceedings, the Emergent Bankruptcy Proceedings, or the Antigua
                          Proceedings in any way adverse to any position taken by the FTX Debtors
                          or inconsistent with the Global Settlement Agreement other than as
                          necessary to exercise or defend their rights under the Global Settlement
                          Agreement;

                  (viii) if still pending, the FTX Debtors shall cause the dismissal or withdrawal
                         of the BlockFi Action as to Emergent promptly;

                  (ix)    Emergent, the Joint Liquidators, and Fulcrum will waive and release for
                          all purposes all claims against the FTX Debtors arising out of or relating
                          to the Open Matters, except (a) any obligation under or claim for breach of
                          this Global Settlement Agreement or (b) any claim or defense assertable


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                         by Emergent and/or the Joint Liquidators against Samuel Bankman-Fried
                         in connection with the Antigua Proceedings;

                  (x)    the FTX Debtors will waive and release for all purposes all claims against
                         Emergent, the Joint Liquidators, and Fulcrum arising out of or relating to
                         the Open Matters, except any obligation under or claim for breach of the
                         Global Settlement Agreement; and

                  (xi)   The FTX Debtors and Emergent will work cooperatively to promptly and
                         efficiently conclude the Emergent Chapter 11 Case.

                                            Jurisdiction

                  20.    The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This matter is a core proceeding

pursuant to 28 U.S.C. § 157(b). Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and

1409. The statutory predicates for the relief requested herein are section 105(a) of the Bankruptcy

Code and Bankruptcy Rule 9019. Pursuant to Local Rule of Bankruptcy Practice and Procedure

of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”) 9013-1(f),

the FTX Debtors and Emergent consent to the entry of a final order or judgment by the Court in

connection with this Motion to the extent it is later determined that the Court, absent consent of

the parties, cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

                                          Relief Requested

                  21.    By this Motion, the FTX Debtors and Emergent request entry of the Order,

substantially in the form attached hereto as Exhibit 1, (a) authorizing the FTX Debtors’ and

Emergent’s entry into, and performance under, the Global Settlement Agreement, (b) approving

the Global Settlement Agreement, and (c) granting certain related relief.




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                                            Basis for Relief

                  22.      Given the scope of the disputes between the Parties concerning their

respective rights and obligations concerning the Robinhood Proceeds and Seized Cash, Emergent

Claims, the Financing Agreement, and other issues, the burden, delay, expense, and uncertainty

associated with litigation would be substantial. To avoid these costs and delay, and to best ensure

the FTX Debtors obtain the value of the Robinhood Proceeds and Seized Cash for distribution to

their creditors, the FTX Debtors and Emergent have each determined that entry into the Global

Settlement Agreement is in the best interests of their respective estates and a valid exercise of

business judgment. (Ray Decl. ¶¶ 7-10; Barkhouse Decl. ¶¶ 15-23.)

                  23.      Bankruptcy Rule 9019(a) provides, in relevant part, that “[o]n motion by

the trustee and after notice and a hearing, the court may approve a compromise or settlement.”

Fed. R. Bankr. P. 9019(a). Compromises and settlements are “a normal part of the process of

reorganization.”        Protective Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v.

Anderson, 390 U.S. 414, 424 (1968) (TMT Trailer Ferry) (quoting Case v. L.A. Lumber Prods.

Co., 308 U.S. 106, 130 (1939)).           The compromise or settlement of time-consuming and

burdensome litigation, especially in the bankruptcy context, is encouraged and “generally favored

in bankruptcy.” In re World Health Alternatives, Inc., 344 B.R. 291, 296 (Bankr. D. Del. 2006).

“In administering reorganization proceedings in an economical and practical manner it will often

be wise to arrange the settlement of claims as to which there are substantial and reasonable doubts.”

In re Penn Cent. Transp. Co., 596 F.2d 1102, 1113 (3d Cir. 1979) (quoting TMT Trailer Ferry,

390 U.S. at 424).

                  24.      “[T]he decision whether to approve a compromise under [Bankruptcy]

Rule 9019 is committed to the sound discretion of the Court, which must determine if the

compromise is fair, reasonable, and in the interest of the estate.” In re Louise’s, Inc., 211 B.R.


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798, 801 (D. Del. 1997). Courts should not, however, substitute their judgment for that of the

debtor, but instead should canvas the issues to see whether the compromise falls below the lowest

point in the range of reasonableness. See In re Neshaminy Office Bldg. Assocs., 62 B.R. 798, 803

(E.D. Pa. 1986); In re W.T. Grant and Co., 699 F.2d 599, 608 (2d Cir. 1983); see also In re World

Health, 344 B.R. at 296 (“[T]he court does not have to be convinced that the settlement is the best

possible compromise. Rather, the court must conclude that the settlement is within the reasonable

range of litigation possibilities.”) (internal citations omitted)).

                  25.    Additionally, section 105(a) of the Bankruptcy Code provides, in pertinent

part, that the “[c]ourt may issue any order, process, or judgment that is necessary or appropriate to

carry out the provisions” of the Bankruptcy Code. 11 U.S.C. § 105(a). Taken together, Bankruptcy

Code section 105(a) and Bankruptcy Rule 9019(a) grant a bankruptcy court the power to approve

a proposed compromise and settlement when it is in the best interests of the debtor’s estate and its

creditors. See In re Marvel Entm’t Grp., Inc., 222 B.R. 243, 249 (D. Del. 1998); In re Louise’s,

Inc., 211 B.R. at 801.

                  26.    The Third Circuit has enumerated four factors that should be considered in

determining whether a compromise should be approved: “(1) the probability of success in

litigation; (2) the likely difficulties in collection; (3) the complexity of the litigation involved, and

the expense, inconvenience and delay necessarily attending it; and (4) the paramount interest of

the creditors.” In re Martin, 91 F.3d 389, 393 (3d Cir. 1996); accord In re Nutraquest, Inc.,

434 F.3d 639, 644 (3d Cir. 2006) (finding that the Martin factors are useful when analyzing a

settlement of a claim against the debtor as well as a claim belonging to the debtor); see also TMT

Trailer Ferry, 390 U.S. at 424; In re Marvel, 222 B.R. at 249-50 (proposed settlement held in best

interest of the estate); In re Mavrode, 205 B.R. 716, 721 (Bankr. D.N.J. 1997). The test boils down

to “whether the terms of the proposed compromise fall within the reasonable range of litigation

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possibilities.” In re Penn Cent., 596 F.2d at 1114 (internal citations omitted); see In re Pa. Truck

Lines, Inc., 150 B.R. 595, 598 (E.D. Pa. 1992) (same). The Global Settlement Agreement plainly

satisfies this standard.

I.       The Global Settlement Agreement Is Fair, Reasonable, and in the FTX Debtors’
         Best Interests.

                  27.      The Global Settlement Agreement provides material value to the FTX

Debtors’ estates through, among other things, Emergent’s agreement to withdraw the Emergent

Forfeiture Petitions and assign all of its and the Joint Liquidators’ purported rights to the

Robinhood Proceeds and Seized Cash to the FTX Debtors. This removes a significant obstacle to

the U.S. Department of Justice agreeing to provide those assets—worth more than $600 million—

to the FTX Debtors for distribution to creditors through the FTX Plan. (Ray Decl. ¶ 5.) In fact,

the Global Settlement Agreement ensures the cooperation of Emergent and the Joint Liquidators

in the FTX Debtors’ efforts to reach agreement with the U.S. Department of Justice regarding

those assets. The Global Settlement Agreement also expunges the Emergent Claims without

litigation. In return, the FTX Debtors are providing a single cash payment of $14 million to address

Emergent’s administrative obligations, including the Fulcrum Financing Agreement, at a

significant discount. (Ray Decl. ¶ 6.)

                  28.      Accordingly, the Global Settlement Agreement and its terms are fair and

equitable, fall well within the range of reasonableness, satisfy each of the applicable Martin factors

with respect to the FTX Debtors, and should be approved.

                  29.      The Emergent Litigation. The FTX Debtors maintain that their ownership

interests in the Robinhood Proceeds and Seized Cash are superior to Emergent’s for numerous

reasons, including because the source of the funds originated with Alameda, and are prepared to

litigate the merits of their interests. However, Emergent may be able to assert successfully that it

is the actual and beneficial owner of the account that previously held the Robinhood Shares and
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Seized Cash and therefore have some interest in the Robinhood Proceeds. Emergent may also be

able to claim that it acquired the Robinhood Shares as a bona fide purchaser for value. These

issues only complicate the timing of, and introduce uncertainty as to, when the FTX Debtors would

be able to secure the release from the U.S. Department of Justice of the Robinhood Proceeds and

Seized Cash in the absence of agreement with Emergent. (Ray Decl. ¶ 8.) Without the Global

Settlement Agreement, the FTX Debtors would be forced to expend time and resources litigating

these issues in the Criminal Case, with the timing for resolution and outcome of those proceedings

uncertain. Avoiding protracted litigation with respect to the Forfeiture Proceeds and Seized Cash

is in the best interests of the FTX Debtors’ creditors, who will ultimately benefit from the release

of those assets for distribution. (Id.)

                  30.   In the absence of the Global Settlement Agreement, the FTX Debtors would

also need to separately litigate the Emergent Claims and the facts and circumstances surrounding

the transfers identified in those Claims, while the Global Settlement Agreement resolves them

favorably. Thus, continuing to pursue litigation in multiple forums would be time-consuming and

costly, and ultimately dilute distributable value available to the FTX Debtors. (Ray Decl. ¶ 9.)

                  31.   Given the attendant costs, delays, and risk inherent in litigation, and the

favorable terms of the Global Settlement Agreement, the FTX Debtors believe that the Global

Settlement Agreement is in the best interests of their creditors. (Id. ¶ 10.)

                  32.   The Paramount Interests of Creditors.              The Global Settlement

Agreement is overwhelmingly in the best interest of FTX Debtors’ estates and their stakeholders

because, in exchange for a single $14 million payment to pay administrative costs from work that

benefitted the FTX Debtors’ creditors, it resolves litigation on multiple fronts and removes a

significant obstacle to recovering more than $600 million through the U.S. Department of Justice.




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                  33.   Therefore, in the FTX Debtors’ business judgment, the value of entering

into the Global Settlement Agreement now far exceeds the net benefits that the FTX Debtors and

their estates likely would obtain from continuing on the alternative litigation path for an extended

period of time in multiple forums. (Ray Decl. ¶ 10.)

                  34.   The FTX Debtors have discussed the Global Settlement Agreement with

counsel to the Committee and the Ad Hoc Committee of Non-U.S. Customers, and currently expect

no objection from either key stakeholder group.

                  35.   The FTX Debtors submit that the Global Settlement Agreement satisfies

Bankruptcy Rule 9019 because it is fair, reasonable, and in the best interests of the FTX Debtors,

their estate, and their stakeholders. As a result, the FTX Debtors respectfully request that the Court

approve the Global Settlement Agreement and authorize the FTX Debtors to enter into and perform

under it.

II.      The Global Settlement Agreement Is Fair, Reasonable, and in Emergent’s Best
         Interests.

                  36.   The Global Settlement Agreement is also fair and reasonable from the

perspective of Emergent and its creditors—who the Joint Liquidators have determined are at this

point the FTX Debtors and the creditors of the FTX Debtors’ estates. (Barkhouse Decl. ¶ 13.) The

Global Settlement Agreement ensures the funding of the administrative costs incurred by

Emergent and the Joint Liquidators, and provides for a path for the orderly and efficient conclusion

of the Emergent Chapter 11 Case.

                  37.   Interest of Creditors. The Global Settlement Agreement will permit the

vast majority of the value of the Robinhood Proceeds and the Seized Cash to be distributed to the

FTX Debtors’ creditors through an existing plan process under the Court’s oversight, thus ensuring

a fair, efficient, and prompt disposition of those assets. (Barkhouse Decl. ¶ 18.)



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                  38.   The Global Settlement Agreement also creates a pathway for the orderly

and efficient termination of the Emergent Chapter 11 Case and the Antiguan liquidation

proceedings, which will no longer be needed given the absence of material assets or disputes. This

fact allowed the Joint Liquidators to accept a relatively modest settlement amount, leaving the rest

for distribution to creditors of the FTX Debtors. (Id.)

                  39.   Support of Key Constituents. Only two purported creditors have appeared

in the Emergent Chapter 11 Case: BlockFi and the FTX Debtors. BlockFi has relinquished all

interest in the Robinhood Proceeds and the Seized Cash, and assigned those rights to the FTX

Debtors—the settlement counterparties. (Id. ¶ 20.)

                  40.   Elimination of Complex, Costly and Time-Consuming Litigation. The

Global Settlement Agreement eliminates the need for Emergent to continue prosecuting a claim in

the Criminal Case. Pursuing the Emergent Forfeiture Petitions would require the Joint Liquidators

to put on a substantial evidentiary and legal case. Assuming Emergent were to prevail in that

action, it would then likely have to defend a fraudulent transfer action by the FTX Debtors. The

Joint Liquidators do not have access to the financial resources to litigate all of these matters to

conclusion and doing so would likely tie up the Robinhood Proceeds and Seized Cash for years,

preventing creditors from realizing any value from them in the meantime. (Id. ¶ 21.)

                  41.   Likelihood of Success in Litigation. Even assuming the Joint Liquidators

could afford to litigate these matters to conclusion, there is a risk that the Joint Liquidators would

not prevail given the circumstances and timing under which the Robinhood Shares were acquired.

If the Joint Liquidators lost either in the Criminal Case or in a subsequent fraudulent transfer

action, they would be unable to pay even accrued professional fees. (Id. ¶ 22.)

                  42.   For all of the foregoing reasons, the Global Settlement Agreement is both

reasonable and highly beneficial to all stakeholders. The Global Settlement Agreement will

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prevent the unneeded further expenditure of resources in connection with the Robinhood Proceeds

and the Seized Cash, ensure those assets are administered efficiently under the Court’s oversight,

provide for an efficient pathway to the conclusion of the Emergent Chapter 11 Case and Antigua

Proceedings, and pay reasonable compensation to professionals and Fulcrum.

                               Waiver of Bankruptcy Rule 6004(h)

                  43.   Given the nature of the relief requested herein, the FTX Debtors and

Emergent respectfully request a waiver of the 14-day stay under Bankruptcy Rule 6004(h).

Pursuant to Bankruptcy Rule 6004(h), “[a]n order authorizing the use, sale, or lease of property

other than cash collateral is stayed until expiration of 14 days after entry of the order, unless the

court orders otherwise.” For the reasons described above, the relief requested is essential to

maximize the value of the FTX Debtors’ assets and ample cause exists to justify a waiver of the

stay period to the extent applicable.

                                        Reservation of Rights

                  44.   Nothing in this Motion: (a) is intended or shall be deemed to constitute an

assumption of any agreement pursuant to section 365 of the Bankruptcy Code or an admission as

to the validity of any claim against the FTX Debtors, Emergent, or their estates; (b) shall impair,

prejudice, waive, or otherwise affect the rights of the FTX Debtors, Emergent, or their estates to

contest the validity, priority, or amount of any claim against the FTX Debtors, Emergent, or their

estates; or (c) shall otherwise impair, prejudice, waive, or otherwise affect the rights of the FTX

Debtors, Emergent, or their estates with respect to any and all claims or causes of action against

any third party.

                                               Notice

                  45.   Notice of this Motion has been provided to:           (a) the U.S. Trustee;

(b) counsel to the Committee; (c) the Securities and Exchange Commission; (d) Emergent; (e) the


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Joint Liquidators; (f) Fulcrum; (g) the United States Department of Justice; (h) the United States

Attorney for the District of Delaware; and (i) to the extent not listed herein, those parties requesting

notice pursuant to Bankruptcy Rule 2002. The FTX Debtors and Emergent submit that, in light of

the nature of the relief requested, no other or further notice need be provided.

                                             Conclusion

                  WHEREFORE, for the reasons set forth herein, the FTX Debtors and Emergent

respectfully request that the Court (a) enter the Order, substantially in the form attached hereto as

Exhibit 1, and (b) grant such other and further relief as is just and proper.

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